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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:22-CR-00058 TLN
12                               Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                         v.                           FINDINGS AND ORDER
14   JERRELL LAWSON                                     DATE: May 12, 2022
     AISHA HOGGATT,                                     TIME: 9:30 a.m.
15   MALEK WILLIAMS,                                    COURT: Hon. Troy L. Nunley
     JAMES GORDLEY, and
16   TERRENCE PHILLIPS,
17                               Defendants.
18

19                                             STIPULATION

20         1.      By previous order, this matter was set for status on May 12, 2022.

21         2.      By this stipulation, defendants now move to continue the status conference until

22 September 1, 2022, at 9:30 a.m., and to exclude time between May 12, 2022, and September 1, 2022,

23 under Local Code T4.

24         3.      The parties agree and stipulate, and request that the Court find the following:

25                 a)     The government has represented that the initial discovery associated with this

26         case includes investigative reports, which has been either produced directly to counsel and/or

27         made available for inspection and copying. The parties are in the process of finalizing a

28         protective order before additional discovery is produced in this case, and the government has


      STIPULATION REGARDING EXCLUDABLE TIME             1
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 1          represented that the discovery in this case is voluminous.

 2                  b)     Counsel for defendants desire additional time to consult with their respective

 3          clients, review the current charges, conduct investigation and research related to the charges, to

 4          review and copy discovery for this matter, and to otherwise prepare for trial.

 5                  c)     Counsel for defendants believe that failure to grant the above-requested

 6          continuance would deny them the reasonable time necessary for effective preparation, taking into

 7          account the exercise of due diligence.

 8                  d)     The government does not object to the continuance.

 9                  e)     Based on the above-stated findings, the ends of justice served by continuing the

10          case as requested outweigh the interest of the public and the defendant in a trial within the

11          original date prescribed by the Speedy Trial Act.

12                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

13          et seq., within which trial must commence, the time period of May 12, 2022 to and including

14          September 1, 2022, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

15          Code T4] because it results from a continuance granted by the Court at defendant’s request on

16          the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

17          best interest of the public and the defendant in a speedy trial.

18          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

19 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

20 must commence.

21          IT IS SO STIPULATED.

22

23
      Dated: May 5, 2022                                      PHILLIP A. TALBERT
24                                                            United States Attorney
25
                                                              /s/ ALEXIS KLEIN
26                                                            ALEXIS KLEIN
                                                              Assistant United States Attorney
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   ///
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      STIPULATION REGARDING EXCLUDABLE TIME               2
      PERIODS UNDER SPEEDY TRIAL ACT
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 1   Dated: May 5, 2022                            /s/ HOOTAN BAIGMOHAMMADI
                                                   HOOTAN BAIGMOHAMMADI
 2                                                 Counsel for Defendant
                                                   JERRELL LAWSON
 3
     Dated: May 5, 2022
 4                                           By: /s/ CLEMENTE JIMÉNEZ
                                                 CLEMENTE JIMÉNEZ
 5                                               Counsel for Defendant
                                                 AISHA HOGGATT
 6
     Dated: May 5, 2022
 7                                           By: /s/ DANIEL KANE
                                                 DANIEL KANE
 8                                               Counsel for Defendant
                                                 MALEK WILLIAMS
 9
     Dated: May 5, 2022
10                                           By: /s/ DAVID FISCHER
                                                 DAVID FISCHER
11                                               Counsel for Defendant
                                                 JAMES GORDLEY
12
     Dated: May 5, 2022
13                                           By: /s/ OLAF HEDBERG
                                                 OLAF HEDBERG
14                                               Counsel for Defendant
                                                 TERRENCE PHILLIPS
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     STIPULATION REGARDING EXCLUDABLE TIME     3
     PERIODS UNDER SPEEDY TRIAL ACT
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 1                                                    ORDER

 2          The Court, having received, read, and considered the parties’ stipulation, and good cause

 3 appearing therefrom, adopts the parties’ stipulation in its entirety as its order. The Court vacates the

 4 May 12, 2022, status conference and resets the matter for a status conference on September 1, 2022, at

 5 9:30 a.m. The Court also finds that based on the facts set forth in the parties’ stipulation, the failure to

 6 exclude time between May 12, 2022, and September 1, 2022, would deny counsel reasonable time

 7 necessary for effective preparation, taking into account the exercise of due diligence. The Court further

 8 finds that the ends of justice served by the continuance outweigh the best interests of the public and the

 9 defendant in a speedy trial. Time from May 12, 2022, to and including September 1, 2022, is excluded

10 from the computation of time within which the trial of this case must commence under the Speedy Trial

11 Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), and Local Code T-4.

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13          IT IS SO FOUND AND ORDERED this 6th day of May, 2022.

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                                                                    Troy L. Nunley
17                                                                  United States District Judge
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      STIPULATION REGARDING EXCLUDABLE TIME               4
      PERIODS UNDER SPEEDY TRIAL ACT
